           Case 3:23-cv-03007-VC       Document 97       Filed 10/04/24     Page 1 of 4

            L I C H T E N & L I S S - R I O R D A N , P. C.
                                         ATTORNEYS AT LAW
HAROLD L. LICHTEN ×

SHANNON LISS-RIORDAN×∆                                                         WWW.LLRLAW.COM
SARAH SCHALMAN-BERGEN          729 BOYLSTON STREET, SUITE 2000
MATTHEW W. THOMSON×              BOSTON, MASSACHUSETTS 02116
THOMAS P. FOWLER×                      __________________                       × ADMITTED IN MASSACHUSETTS
BRADLEY MANEWITH●
                                                                                     ∆ ADMITTED IN CALIFORNIA
KRYSTEN CONNON^
JEREMY ABAY^                      TELEPHONE 617-994-5800                             ADMITTED IN NEW YORK


OLENA SAVYTSKA×                      FACSIMILE 617-994-5801                        ADMITTED IN PENNSYLVANIA

                                                                                        ● ADMITTED IN ILLINOIS
                                                                                    ^ ADMITTED IN NEW JERSEY
MATTHEW CARRIERI×                                                                  ♦ ADMITTED IN CONNECTICUT
JACK BARTHOLET×                          X



TREVOR BYRNE×
BENJAMIN J. WEBER× OF COUNSEL

                                                            October 4, 2024

  VIA ECF
  Hon. Vince Chhabria
  United States District Court
  Northern District of California
  San Francisco Courthouse, Courtroom 4 – 17th Floor
  450 Golden Gate Avenue, San Francisco, CA 94102

          RE:     Schobinger v. Twitter, Inc., C.A. No. 23-cv-03007-VC

  Dear Judge Chhabria:

          In response to your request at yesterday’s hearing, I am submitting this letter
  brief in support of our request that potential class members be notified that this case will
  not be proceeding as a class action.

          As described below, courts have regularly required such notice to be given,
  particularly when a case has received publicity that may lead potential class members
  to believe their rights are being protected, without them needing to take any action.
  Upon its filing, and upon the Court’s earlier ruling denying Twitter’s motion to dismiss,
  this case did receive publicity. I have attached here sample news articles about this
  case that appeared in a number of prominent news sources.1



  1
          See Johnny Diaz, “Suit Against Twitter Over Unpaid Bonuses Can Proceed”,
  New York Times (Dec. 24, 2023) (Exhibit 1); Catherine Thorbecke, “Twitter accused of
  failing to pay millions in employee bonuses after Musk takeover”, CNN Business (Jun
  21, 2023) (Exhibit 2); Kanishka Singh, “Twitter violated contract by failing to pay millions
  in bonuses, US judge rules”, Reuters (Dec. 26, 2023) (Exhibit 3); Nick Robertson,
  “Judge rules Twitter, now X, breached contract by blocking millions of pay bonuses,”
  The Hill (Dec. 23, 2023) (Exhibit 4); Zachary Folk, “Elon Musk’s X Breached Twitter
  Worker Contracts By Refusing Bonuses, Judge Rules”, Forbes (Dec. 23, 2023) (Exhibit
  5); Kiera Fields, “Elon Musk's X will go to court after failing to pay staff millions in annual
  bonuses”, Business Insider (Dec. 26, 2023) (Exhibit 6).
        Case 3:23-cv-03007-VC        Document 97      Filed 10/04/24     Page 2 of 4

L I C H T E N & L I S S - R I O R D A N , P. C.


        And, as I explained in court yesterday, our firm has received a number of
inquiries from Twitter employees regarding the claims in the case and whether they
need to take any action themselves to recover the bonus they were not paid.2 The fact
that some of these employees reached out to the firm through their own devices
indicates that many others likely saw and relied on these news stories without believing
there was any need for them to take action themselves.

       The Ninth Circuit has stated that: “the possibility of reliance on the filing of the
class action is enough to require notice,” specifically the “likelihood that members of the
class had knowledge of the litigation.” Diaz v. Tr. Territory of Pac. Islands, 876 F.2d
1401, 1410–11 (9th Cir. 1989). “Fed. R. Civ. P. 23(d)(1)(B)(i) authorizes a court to
require that appropriate notice be given to class members 'of any step in the action,' in
order to 'protect class members.' Certainly, the denial of class certification is a 'step in
the action.' And, it is a step in the action that, absent notice to putative class members,
may injure their interests." Puffer v. Allstate Ins. Co., 614 F. Supp. 2d 905, 910 (N.D. Ill.
2009).

       Many other courts that have held that, where class members learn about an
action that may affect their rights through media publicity, notice is warranted when the
case will not be continuing as a class action that will pursue their claims. See, e.g.,
O’Connor v. Uber Technologies, Inc., C.A. No. 13-3826-EMC (N.D. Cal. Dec. 23, 2015)
(Dkt. 436) (where class action received significant media attention, “the Court agree[d]
that notice to drivers who have been excluded from the class is proper”); Bushansky v.
Armacost, 2014 WL 2905143, at *5 (N.D. Cal., June 25, 2014) (finding notice
necessary where “there has been some media coverage surrounding the legal issues
implicated by Chevron's forum selection bylaw, and shareholders were apprised of the
bylaw controversy via proxy statements” such that “the possibility remains that Chevron
shareholders have relied on the present suit to vindicate their rights...”); Kas v. Chevron
Corp., 1992 U.S. Dist. LEXIS 13635 (N.D. Cal. Aug. 20, 1992).

      See also Culver v. City of Milwaukee, 277 F.3d 908, 915 (7th Cir. 2002) (notice
should be issued the class under Rule 23(e) where a class representative was
inadequate)3; Doe v. Lexington-Fayette Urban County Government, 407 F.3d 755, 763–



2
       I could provide further evidence of this fact, if the Court found that necessary.
3
       At the hearing, the Court noted that he was aware of cases authorizing class
notice when there is a voluntary settlement or dismissal of the named plaintiff’s claims.
There is no reason the same reasoning would not apply where class certification is
denied, including based upon the Court’s determination that the lead plaintiff is not
adequate, as shown in the Culver case. The California Court of Appeal has reached the
same conclusion:
       Case 3:23-cv-03007-VC        Document 97       Filed 10/04/24    Page 3 of 4

L I C H T E N & L I S S - R I O R D A N , P. C.


764 (6th Cir. 2005) (“[T]he local media devoted substantial coverage to the
abuse… include[ing] coverage of the Guy and Doe I lawsuits. Such public attention
presumably led putative class-action members to believe that their rights were being
adequately represented by the Guy and Doe I plaintiffs. Without notice that these
actions had been dismissed, the putative class members were likely lulled into believing
that their claims continued to be preserved.”); Crawford v. F. Hoffman-La Roche Ltd.,
267 F.3d 760, 765 (8th Cir. 2001) (“Dismissal without notice might . . . prejudice
potential members who have been relying on the named plaintiff to protect their
interests, by leaving them to fend for themselves without knowledge that they should do
so.”); In re Cardizem CD Antitrust Litig., 2000 WL 33180833, at *6–7 (E.D. Mich. Sept.
21, 2001) (observing that a “reliance interest can become a danger when the filing of a
class action complaint receives attention by the news media,” and finding that putative
class members were prejudiced in part because “[t]hese consolidated actions have
received publicity, both nationally and in the areas where the suits were initially filed”);
Gupta v. Penn Jersey Corp., 582 F. Supp. 1058, 1061 (E.D. Pa. 1984) (finding that
coverage of the litigation in newspapers shortly after the suit was filed warranted notice
to the class); Ross v. Warner, 80 F.R.D. 88, 91 (S.D.N.Y. 1978) (finding that “serious
and newsworthy allegations” in the case “made against a huge corporation[,] force the
Court to consider the probability that many of the soon-to-be-abandoned class members
received actual notice of the institution of this suit through national publicity and were
perhaps deterred from instituting their own suits in reliance on their class membership”);
Yaffe v. Detroit Steel Corp., 50 F.R.D. 481, 483 (N.D. Ill. 1970) (finding likelihood of
reliance where “[t]his lawsuit, and the acquisition it challenges, have received publicity
in the financial press and, on at least one occasion, counsel for plaintiffs issued a press
release which found its way into the Wall Street Journal”).

        As described in Plaintiff’s motion for class certification, had this case been
certified as a class action, notice should have been issued to class members who
signed arbitration agreements, as well as those who opted out of arbitration. We expect
that Twitter may argue that any such notice that may be issued now should be limited to
employees who may have been potential class members who opted out of arbitration.
However, those employees likewise do not have reason to know that the case will not

       If, however, the court concludes that the named plaintiffs can no longer
       suitably represent the class, it should at least afford plaintiffs the opportunity to
       amend their complaint, to redefine the class, or to add new individual plaintiffs, or
       both, in order to establish a suitable representative. (See Cal. Gas. Retailers v.
       Regal Petroleum Corp. 50 Cal.2d 844, 850–851); “If, after the court has thus
       extended an opportunity to amend, the class still lacks a suitable representative,
       the court may conclude that it must dismiss the action.” (Ibid.) Even then, the
       Supreme Court held, the trial court must notify the class of the proposed
       dismissal. (Ibid.)

Shapell Industries, Inc. v. Superior Court, 132 Cal.App.4th 1101, 1110 (2005)
(emphasis added).
        Case 3:23-cv-03007-VC         Document 97       Filed 10/04/24      Page 4 of 4

L I C H T E N & L I S S - R I O R D A N , P. C.


be pursued now on their behalf. Indeed, following the Ninth Circuit’s decision reversing
class certification in O’Connor v. Uber Technologies, Inc., I believe the court ordered
notice to be issued to drivers who had signed arbitration agreements that had then been
determined to be enforceable.4
        Similarly, in a recent California state court case, where the defendant requested
dismissal of the case at the outset based on employees having signed arbitration
agreements, the court ordered that notice be issued to class members who signed
arbitration agreements informing them of the dismissal - because of the media attention
that the case received and class members’ likely reliance on that publicity. See Slaffey
v. Joint Venture Restaurant Group, Inc., No. 23STCV14215 (Cal. Sup. Ct.) (June 18,
2024, order and motion requesting notice attached as Exhibit 7).5
        In contrast to these cases, in cases where courts have denied plaintiffs’ requests
for notice to class members when requests for certification were denied, courts have
noted the lack of media attention as the reason for denying the request. See, e.g.,
Rodriguez v. Nationwide Mutual Insurance Company, 2017 WL 7803796, at *3 (C.D.
Cal., Nov. 16, 2017) (noting that “no putative class members have contacted counsel of
either Party to inquire about the status of the case or the filing of additional
claims…Because it is unlikely that any putative class members have relied on this suit,
this factor favors dismissal.”); Vargas v. Central Freight Lines, Inc., 2017 WL 4271893,
at *5 (S.D. Cal., Sept. 25, 2017) (“[T]he putative class members are unlikely to suffer
any prejudice due to reliance on this class action. Plaintiff's counsel declares that there
has been no publicity on this case. … Further, Plaintiff's counsel represents that he has
not been contacted by any putative class member about this case.”); Tombline v. Wells
Fargo Bank, N.A., 2014 WL 5140048, at *2 (N.D. Cal. Oct. 10, 2014) (noting that there
is unlikely to be reliance when “no one purporting to be a putative class member [has]
contacted plaintiffs’ counsel about this case”); Maddox & Starbuck, Ltd. v. British
Airways, 97 F.R.D. 395, 397 (S.D.N.Y. 1983) (“There has been neither actual court
notice nor substantial publicity”); Wertheim Schroder & Co., Inc. v. Avon Products,
Inc., 1994 WL 48794, at *2 (S.D.N.Y., Feb. 14, 1994) (denying notice because “there
has been neither individual notice to class members of the existence of the instant class
action nor sufficient publicity”).

       In light of these authorities, we request that the Court authorize notice to potential
class members in this case.

                                                    Sincerely,

                                                    /s/ Shannon Liss-Riordan


4
        Given the short deadline to file this letter brief, I have not yet located this citation
but will provide it on the Court’s request.
5
       Further briefing from that matter can be submitted if the Court requests it.
